          Case 2:09-cr-00380-WBS Document 119 Filed 07/25/11 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2797
 5
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,              ) CR. No. S-2:09-0380 WBS
                                            )
12                Plaintiff,                )
                                            ) STIPULATION AND [PROPOSED]
13        v.                                ) ORDER CONTINUING STATUS
                                            ) CONFERENCE
14   URIEL OCHOA-ESPINDOLA,                 )
     JOSE SERGIO ESPINDOLA,                 )
15   ARMANDO ESPINDOLA,                     )
     VALENTIN RAMIREZ-CARDINEZ,             )
16                                          )
                  Defendants.               )
17                                          )
                                            )
18                                          )

19
20        The parties request that the status conference currently set

21   for July 25, 2011, be continued to August 29, 2011, and stipulate

22   that the time beginning July 25, 2011, and extending through

23   August 29, 2011, should be excluded from the calculation of time

24   under the Speedy Trial Act.    The parties submit that the ends of

25   justice are served by the Court excluding such time, so that

26   counsel for each defendant may have reasonable time necessary for

27   effective preparation, taking into account the exercise of due

28   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.

                                        1
          Case 2:09-cr-00380-WBS Document 119 Filed 07/25/11 Page 2 of 3


 1        The parties are in the process of discussing and negotiating
 2   various pretrial dispositions.     Each defendant will need time to
 3   consider any plea offer he may receive.      Additionally, counsel
 4   for each defendant needs more time to review the discovery in
 5   this case, discuss that discovery with their respective clients,
 6   consider evidence that may affect the disposition of this case,
 7   and discuss with their clients how to proceed.        The parties
 8   stipulate and agree that the interests of justice served by
 9   granting this continuance outweigh the best interests of the
10   public and the defendants in a speedy trial.       18 U.S.C. §
11   3161(h)(7)(A).
12                                          Respectfully Submitted,
13                                          BENJAMIN B. WAGNER
                                            United States Attorney
14
15   Dated: July 22, 2011               By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
16                                         Assistant U.S. Attorney
17
     Dated: July 22, 2011               By:/s/ Preciliano Martinez
18                                         PERCILIANO MARTINEZ
                                           Attorney for defendant
19                                         URIEL OCHOA-ESPINDOLA
20
     Dated: July 22, 2011               By:/s/ Mark J. Rosenblum
21                                         MARK J. ROSENBLUM
                                           Attorney for defendant
22                                         JOSE SERGIO ESPINDOLA
23
     Dated: July 22, 2011               By:/s/ John R. Duree, Jr.
24                                         JOHN R. DUREE, JR.
                                           Attorney for defendant
25                                         ARMANDO ESPINDOLA
26
     Dated: July 22, 2011                By:/s/ Robert L. Forkner
27                                         ROBERT L. FORKNER
                                           Attorney for defendant
28                                         VALENTIN RAMIREZ-CARDINEZ

                                        2
          Case 2:09-cr-00380-WBS Document 119 Filed 07/25/11 Page 3 of 3


 1                                    ORDER
 2        The status conference in case number CR. S 2:09-0380 WBS,
 3   currently set for July 25, 2011, is continued to August 29, 2011,
 4   and the time beginning July 25, 2011, and extending through
 5   August 29, 2011, is excluded from the calculation of time under
 6   the Speedy Trial Act.    The Court finds that interests of justice
 7   served by granting this continuance outweigh the best interests
 8   of the public and the defendants in a speedy trial.        18 U.S.C. §
 9   3161(h)(7)(A).
10
11
     IT IS SO ORDERED
12
13
14   Dated:   July 22, 2011
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                        3
